             Case 1:24-cv-02718-SJB Document 5 Filed 04/12/24 Page 1 of 1 PageID #: 24

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                  Eastern District
                                                __________         of of
                                                            District  New  York
                                                                         __________

      PERI RAPPAPORT, individually and on                        )
         behalf of all others similarly situated                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 1:24-cv-02718
                                                                 )
        PATHWARD, NATIONAL ASSOCIATION                           )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) PATHWARD, NATIONAL ASSOCIATION
                                       5501 South Broadband Lane
                                       Sioux Falls, South Dakota 57108




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Todd S. Garber, Esq.
                                       FINKELSTEIN, BLANKINSHIP, FREI-PEARSON & GARBER, LLP
                                       One North Broadway, Suite 900
                                       White Plains, New York 10601



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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                                                                            CLERK OF COURT


Date:    04/12/2024
                                                                                      Signature of Clerk or Dep
                                                                                                            Deputy Clerk
